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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

MICHAEL BERRY                                  )
                                               )
                                               )
             v.                                )    No. 16 C 9720
                                               )
RANDY PFISTER                                  )



                           MEMORANDUM OPINION

SAMUEL DER-YEGHIAYAN, District Judge

      This matter is before the court on Petitioner Michael Berry’s (Berry) pro se

petition for writ of habeas corpus (Petition) brought pursuant to 28 U.S.C. § 2254.

For the reasons stated below, the Petition is denied.



                                  BACKGROUND

      Berry was found guilty by a jury in state court of attempted first-degree

murder and the unauthorized use of a weapon by a felon and Berry was sentenced to

a total term of sixty years of imprisonment. Berry filed an appeal, and in September

2012 the Illinois Appellate court affirmed his sentence and conviction. Berry filed a

petition for leave to appeal (PLA) with the Illinois Supreme Court, and the PLA was

denied in January 2013. In October 2013, Berry filed a post-conviction petition,

which was dismissed. McLennan appealed the post-conviction petition ruling, and


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the trial court’s dismissal was affirmed in December 2015. The Illinois Supreme

Court denied the subsequent PLA in June 2016. On October 13, 2016, Berry filed

the instant Petition.



                                 LEGAL STANDARD

       An individual in custody pursuant to state court judgment may seek a writ of

habeas corpus pursuant to 28 U.S.C. § 2254, which provides the following:

       An application for a writ of habeas corpus on behalf of a person in custody
       pursuant to the judgment of a State court shall not be granted with respect to
       any claim that was adjudicated on the merits in State court proceedings unless
       the adjudication of the claim--(1) resulted in a decision that was contrary to, or
       involved an unreasonable application of, clearly established Federal law, as
       determined by the Supreme Court of the United States; or (2) resulted in a
       decision that was based on an unreasonable determination of the facts in light
       of the evidence presented in the State court proceeding.

28 U.S.C. § 2254(d). The decision made by a state court is deemed to be contrary to

clearly established federal law “‘if the state court applies a rule different from the

governing law set forth in [Supreme Court] cases, or if it decides a case differently

than [the Supreme Court has] done on a set of materially indistinguishable facts.’”

Emerson v. Shaw, 575 F.3d 680, 684 (7th Cir. 2009)(quoting Bell v. Cone, 535 U.S.

685, 694 (2002)). The decision by a state court is deemed to involve an unreasonable

application of clearly established federal law “‘if the state court correctly identifies

the governing legal principle from [Supreme Court] decisions but unreasonably

applies it to the facts of the particular case.’” Emerson, 575 F.3d at 684 (quoting

Bell, 535 U.S. at 694).

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                                     DISCUSSION

       This court has liberally construed Berry’s pro se filings. See Perruquet v.

Briley, 390 F.3d 505, 512 (7th Cir. 2004)(stating that “[a]s [the plaintiff] was without

counsel in the district court, his habeas petition [wa]s entitled to a liberal

construction”); Greer v. Board of Educ. of City of Chicago, Ill., 267 F.3d 723, 727

(7th Cir. 2001)(indicating that a court should “liberally construe the pleadings of

individuals who proceed pro se”). Berry asserts in the Petition: (1) that there was

insufficient evidence to prove him guilty beyond a reasonable doubt (Claim 1), (2)

that his trial counsel was ineffective by failing to object to certain jury instructions

and secure a separate verdict form (Claim 2), that his trial counsel was ineffective by

failing to object to the prosecutions repeated oral arguments (Claim 3), that his

appellate counsel was ineffective because he did not raise alleged errors by his trial

counsel relating to the jury learning the name and nature of Berry’s prior felony

conviction (Claim 4a) and failure to attempt to sever his firearm charges (Claim 4b)



I. Procedurally Defaulted Claims

       Respondent argues that Claims 1, 2, 3, and 4b are procedurally defaulted and

that there is no justification to excuse the default.



       A. Procedural Default

       Respondent contends that Berry failed to raise Claims 1, 2, 3, or 4b through

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one complete round of the state court appellate review process. A district court

“cannot review a habeas petitioner’s constitutional issue unless he has provided the

state courts with an opportunity to resolve it ‘by invoking one complete round of the

state’s established appellate review process.’” Byers v. Basinger, 610 F.3d 980, 985

(7th Cir. 2010)(quoting O’Sullivan v. Boerckel, 526 U.S. 838, 845 (1999)). If a

habeas petitioner failed to “properly assert[] his federal claim at each level of state

court review,” the petitioner is deemed to have “procedurally defaulted that claim.”

Malone v. Walls, 538 F.3d 744, 753 (7th Cir. 2008)(quoting Lewis v. Sternes, 390

F.3d 1019, 1025 (7th Cir. 2004)); see also Johnson v. Hulett, 574 F.3d 428, 431 (7th

Cir. 2009)(stating that “[t]o obtain federal habeas review, a state prisoner must first

submit his claims through one full round of state-court review,” and that “[t]he

penalty for failing to fully and fairly present [] arguments to the state court is

procedural default”). A petitioner, in exhausting his state court remedies, has “‘the

duty to fairly present his federal claims to the state courts.’” Malone, 538 F.3d at

753 (stating that fair presentment includes “‘the petitioner . . . assert[ing] his federal

claim through one complete round of state-court review, either on direct appeal of his

conviction or in post-conviction proceedings’”)(quoting Lewis, 390 F.3d at 1025).



       1. Claim 1

       As indicated above, Berry asserts in Claim 1 that there was insufficient

evidence to prove him guilty beyond a reasonable doubt. Berry did not present this

claim in his PLA on direct appeal. (R Ex. F 3). Nor did Berry present the claim in

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his post-conviction petition or subsequent appeal. (R Ex. H 2-3); (R Ex. I 5).

Therefore, Claim 1 is procedurally defaulted. The court also notes that even if Claim

1 was not procedurally defaulted, the claim lacks any merit. The record reflects that

the State presented ample evidence upon which Berry could be found guilty beyond a

reasonable doubt.



       2. Claim 2

       As indicated above, Berry asserts in Claim 2 that his trial counsel was

ineffective by failing to object to certain jury instructions and secure a separate

verdict form. Berry did not present this claim in his direct appeal or in his PLA on

direct appeal. (R Ex. C 7); (R Ex. F 3). Berry asserted errors in regard to jury

instructions, but failed to assert ineffective assistance of counsel in regard to failing

to object to such alleged errors. (R Ex. C 7); (R Ex. F 3). Nor did Berry present

Claim 2 in his post-conviction petition or subsequent appeal. (R Ex. H 2-3); (R Ex. I

5). The court notes that even if Berry had raised Claim 2 through a complete round

of the state review process, the state court rejected the claim on an independent and

adequate state ground. Lee v. Foster, 750 F.3d 687, 693 (7th Cir. 2014)(stating that

on federal habeas review, a court “will not entertain questions of federal law in a

habeas petition when the state procedural ground relied upon in the state court ‘is

independent of the federal question and adequate to support the judgment’”)(quoting

Coleman v. Thompson, 501 U.S. 722, 729 (1991)); (R Ex. A 19-26). Therefore,

Claim 2 is procedurally defaulted. The court also notes that even if Claim 2 was not

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procedurally defaulted, the claim lacks any merit. See Wyatt v. United States, 574

F.3d 455, 457-58 (7th Cir. 2009)(citing Strickland v. Washington, 466 U.S. 668,

687-88 (1984))(explaining elements for an ineffective assistance of counsel claim

and stating that a “movant must overcome the strong presumption that counsel’s

conduct falls within the wide range of reasonable professional assistance”).



       3. Claim 3

       As indicated above, Berry asserts in Claim 3 that his trial counsel was

ineffective by failing to object to the prosecutions repeated oral arguments. Berry

did not present this claim in his PLA on direct appeal. (R Ex. F 3). Nor did Berry

present Claim 3 in his post-conviction petition or subsequent appeal. (R Ex. H 2-3);

(R Ex. I 5). Therefore, Claim 3 is procedurally defaulted. The court also notes that

even if Claim 3 was not procedurally defaulted, the claim lacks any merit.



       4. Claim 4b

       As indicated above, Berry asserts in Claim 4b that his appellate counsel was

ineffective due to failing to raise alleged errors by his trial counsel relating to the

severance of his firearm charges. Berry did not present this claim in his direct appeal

or in his PLA on direct appeal. (R Ex. C 7); (R Ex. F 3). Nor did Berry present

Claim 4b in his post-conviction petition. (R Ex. H 2-3). Therefore, Claim 4b is

procedurally defaulted. The court also notes that even if Claim 4b was not

procedurally defaulted, the claim lacks any merit.

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      B. Justification to Excuse Default

      Respondent also argues that there are no facts in this case that provide a

justification to excuse the default of Claims 1, 2, 3, and 4b. A procedurally defaulted

claim can still be considered by a district court “if a petitioner can show cause and

prejudice or a fundamental miscarriage of justice.” Coleman v. Hardy, 628 F.3d 314,

318 (7th Cir. 2010); see also Kaczmarek v. Rednour, 627 F.3d 586, 591 (7th Cir.

2010)(stating that “[a] federal court on collateral review will not entertain a

procedurally defaulted constitutional claim unless the petitioner can establish cause

and prejudice for the default or that the failure to consider the claim would result in a

fundamental miscarriage of justice”); Holmes v. Hardy, 608 F.3d 963, 968 (7th Cir.

2010)(stating that a “way to avoid procedural default is to show actual innocence,

that is, to show that in light of new evidence, it is more likely than not that no

reasonable juror would have found petitioner guilty beyond a reasonable

doubt”)(internal quotations omitted)(quoting Schlup v. Delo, 513 U.S. 298, 327

(1995)); Promotor v. Pollard, 628 F.3d 878, 887 (7th Cir. 2010)(stating that “default

could be excused if [the petitioner] can establish cause and prejudice, or establish

that the failure to consider the defaulted claim will result in a fundamental

miscarriage of justice”). In the instant action, Berry has not provided facts showing

that he was prevented from properly presenting Claims 1, 2, 3, or 4b in the state

system in order to avoid the procedural default. Berry has not shown cause and

prejudice. Nor has Berry shown actual innocence or a fundamental miscarriage of

justice that would excuse the procedural default.

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II. Claim 4a

      Respondent argues that Claim 4a lacks any merit. As indicated above, Berry

asserts in Claim 4a that his appellate counsel was ineffective due to failing to raise

alleged errors by his trial counsel relating to the jury learning the name and nature of

Berry’s prior felony conviction. To show ineffective assistance of counsel, a

petitioner must establish that: “(1) his attorney’s performance fell below an objective

standard of reasonableness, and (2) he suffered prejudice as a result.” Wyatt, 574

F.3d at 457-58 (citing Strickland, 466 U.S. at 687-88. On the post-conviction appeal,

the Illinois Appellate Court correctly found that the decision by trial counsel to

stipulate to the name and nature of Berry’s prior felony conviction was a strategic

decision. (R Ex. B 4-6). The Illinois Appellate Court properly noted that the

introduction of the name and nature of Berry’s prior offense supported his alibi

argument and prevented the jury from speculating that his prior offense was a violent

offense. (R. Ex. B 4-6). Berry has not shown that his trial counsel was ineffective in

this regard or that his appellate counsel was ineffective for failing to argue such an

error by his trial counsel. See McElvaney v. Pollard, 735 F.3d 528, 532 (7th Cir.

2013)(stating that “[i]n evaluating an attorney’s performance, courts must defer to

any strategic decision the lawyer made that falls within the wide range of reasonable

professional assistance, even if that strategy was ultimately unsuccessful”)(internal

quotations omitted)(quoting Strickland v. Washington, 466 U.S. 668, 689 (1984)).

Claim 4a thus lacks any merit. Based on the above, the Petition is denied.

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III. Certificate of Appealability

      Pursuant to Rule 11(a) of the Rules Governing § 2254 Cases, the court must

issue or deny a certificate of appealability “when it enters a final order adverse to the

applicant.” Id. A district court should only issue a certificate of appealability “if the

applicant has made a substantial showing of the denial of a constitutional right.” 28

U.S.C. § 2253(c)(2). The petitioner must also show that “reasonable jurists could

debate whether (or, for that matter, agree that) the petition should have been resolved

in a different manner or that the issues presented were ‘adequate to deserve

encouragement to proceed further.’” Slack v. McDaniel, 529 U.S. 473, 484

(2000)(quoting Barefoot v. Estelle, 463 U.S. 880, 893 (1983)). In the instant action,

Berry has not made a substantial showing of the denial of a constitutional right as to

any claims presented in his Petition. Nor has Berry shown that reasonable jurists

could debate whether the Petition should have been resolved in a different manner or

that the issues presented in the Petition deserve encouragement to proceed further.

Therefore, should Berry decide to appeal this court’s ruling, this court finds that a

certificate of appealability would not be warranted, and is denied.



                                    CONCLUSION

      Based on the foregoing analysis, the Petition is denied.



                                         ___________________________________
                                         Samuel Der-Yeghiayan
                                         United States District Court Judge

Dated: April 27, 2017

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